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SHEPPERTON DESIGN STUDIOS
LIMITED, a United Kingdom company
incorporated in England, ANDRE
AINSWORTH, an individual, and DOES 1
through 10, both inclusive,

fHIS CONSTITUTES NOTICE OF ENTRY
AS REQUIRED BY FRCP, RULE 77(d).

   

Defendants.

 

Priority
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ace CLERK, US DISTRICT COURT °
al UNITED STATES DISTRICT COURT!
38 CENTRAL DISTRICT OF CALIFORNYA
em CENTRAL DISTRICT OF CALIFORNIA
ao WESTERN DIVISION [BY
LUCASFILM LTD., a California Case No. CV05-3434 RGK (MANx)
corporation,
RYPYSED] ORDER GRANTING
Plaintiff, OTION FOR ENTRY OF
DEFAULT JUDGMENT
VS.

 

 
 

 

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I. FACTUAL BACKGROUND f

Lucasfilm Ltd. (“Plaintiff’) filed this action on May 6, 2005. Plaintiff S
Complaint alleges copyright infringement, unfair competition, trademark infringement
and state common law unfair competition against Shepperton Design Studios Limited
(“Shepperton”) and Andrew Ainsworth (“Ainsworth”) (collectively, “Defendants”), for
unauthorized exploitation of Plaintiff's copyrighted Stormtrooper and TIE fighter pilot
characters and Plaintiff's Imperial logo trademark.

Plaintiff caused each of the Defendants to be personally served in England with
a copy of the Summons and Complaint pursuant to the Convention on the Service
Abroad of Judicial and Extrajudicial Documents in Civil and Commercial Matters (the
“Hague Convention”). On July 15, 2005 Defendants appeared in this action through
California counsel by filing their Stipulation with Plaintiff to extend the time for
Defendants to respond to the Complaint. On August 16, 2005 Defendants filed their
Motion and supporting Memorandum and Declarations requesting an Order dismissing
this action on the grounds the Court lacks personal jurisdiction over them. Plaintiff
filed opposition to Defendants’ Motion and on September 12, 2006 Defendants filed a
Memorandum and additional Declarations in reply. On October 3, 2006 and after
considering the papers filed, this Court denied Defendants’ Motion.

Defendants, however, failed to respond to the Complaint. On November 11,
2005, Plaintiff filed a First Amended Complaint against Defendants, which was served
on Defendants’ California counsel. Plaintiff also caused each of the Defendants to be
personally served in England with a copy of the Summons and First Amended
Complaint pursuant to the Hague Convention. Defendants failed to respond to the
First Amended Complaint and on February 7, 2006, Plaintiff requested that the Clerk
enter Defendants’ Default. On March 2, 2006, the Court granted that request and the
Clerk entered Defendants’ Default that day.

Plaintiff now moves for entry of a Default Judgment. For the reasons discussed

below, the Court grants Plaintiff's Motion.

 
 

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Il. JUDICIAL STANDARD é:

Rule 55(b) of the Federal Rule of Civil Procedure provides for the Court's entry
of a default judgment following entry of default by the Clerk. “The FRCP ‘and the
local rules in the Central District of California require that applications for default
judgment set forth the following information: (1) when and against which party default
was entered; (2) the identification of the pleadings to which default was entered; (3)
whether the defaulting party is an infant or incompetent person, and if so, whether that
person is adequately represented; (4) that the Soldiers’ and Sailors’ Civil Relief Act of
1940 does not apply; and (5) that notice of the application has been served on the
defaulting party, if required.” Philip Morris USA Inc. v. Castworld Products, Inc., 219
F.R.D. 494, 498 (C.D. Cal. 2003), citing F. R. Civ. P. 55(b)(2) & L. Rule 55-1.

“The district court’s decision whether to grant or deny a default judgment is
discretionary in nature.” Elektra Entm’t Group Inc. v. Crawford, 226 F.R.D. 388, 392
(C.D. Cal. 2005). The Ninth Circuit has identified the following seven factors
applicable to the decision whether to grant a Default Judgment: (1) the possibility of
prejudice to the Plaintiff, (2) the merits of Plaintiff's substantive claim, (3) the
sufficiency of the complaint, (4) the sum of money at stake in the action, (5) the
possibility of a dispute concerning material facts, (6) whether the default was due to
excusable neglect, and (7) the strong policy underlying the Federal Rules of Civil
Procedure favoring decisions on the merits. /d., citing Eitel v. McCool, 782 F.2d 1470,
1471-72 (9th Cir. 1986). “In applying this discretionary standard, default judgments
are more often granted than denied.” Elektra Entm’t, 226 F.R.D. at 392, quoting
PepsiCo v. Triunfo-Mex, Inc., 189 F.R.D. 431, 432 (C.D. Cal. 1999).

III. DISCUSSION
A. Plaintiff Has Fulfilled the Procedural Requirements for a Default
Judgment,

Plaintiff has complied with Rule 55(b)(2) of the Federal Rules of Civil

Procedure and this Court’s Local Rule 55-1, and the Declaration of Peter J. Anderson

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establishes that (1) Defendants’ default was entered by the Clerk on March 2, 2006; (2)
their default was entered as to the First Amended Complaint filed November 5 2005;
(3) Defendants are not infants or incompetent persons; (4) the Soldiers’ and: Sailors
Civil Relief Act of 1940 does not apply; and (5) notice of Plaintiff’s Motion has been
served on Defendants.

B. Application of the Zitel Factors.

1, Factor One: The Possibility of Prejudice to Plaintiff if a Default
Judgment is Not Entered.

Plaintiff “would be denied the right -to judicial resolution of the claims
presented” in this action if the Default Judgment is not entered. Elektra Entm’t, 226
F.R.D. at 392. Further, Defendants, by choosing to default rather than appear and
defend, are “deemed to have admitted the truth of Plaintiff's averments,” thereby
establishing their willful infringements and that Plaintiff would “likely suffer great
prejudice” if a Default Judgment in not entered. Philip Morris, 219 F.R.D. at 499.
The first £ite/ factor therefore cuts in favor of granting Plaintiff's Motion.

2. Factors Two and Three: The Merits of Plaintiff's Substantive
Claims and Sufficiency of Plaintiff's Pleading.

The second and third Eite/ factors are commonly analyzed together. Pepsico,
Inc. v. California Security Cans, 238 F. Supp. 2d 1172, 1175-76 (C.D. Cal. 2002);
Elektra Entm’t, 226 F.R.D. at 392-93; Philip Morris, 219 F.R.D. at 499-500. These
“two Litel factors ‘require that a Plaintiff state a claim on which the [Plaintiff] may
recover.” Jd at 499, quoting Pepsico, 238 F. Supp. 2d at 1175 (citations and
quotations omitted).

(i) Plaintiffs First Claim for Relief: Defendants Infringed
Plaintiff's Copyrights.

Plaintiff's First Claim for Relief is for infringement of the copyrights in the
preexisting Stormtrooper artwork and the 1977 Star Wars Film. To prevail on its
copyright infringement claim Plaintiff need only establish that (1) Plaintiff owns the

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copyrights and (2) Defendants have violated “at least one of the exclusive rights
granted to copyright holders under 17 U.S.C. § 106.” 4 & M Records, Inc. v. Napster,
Jnc., 239 F.3d 1004, 1013 (9th Cir. 2001). :

Plaintiffs First Amended Complaint establishes that Plaintiff owns the
copyrights in the preexisting artwork and the 1977 Star Wars Film and has complied in
all respects with the Copyright Act, and that the Register of Copyrights has issued the
appropriate certificates of registration. First Amended Complaint (“FAC”) at 9, lines
21-23, & at 9, J 21. Defendants’ failure to respond and defend constitutes an
admission that these statements are true. Elektra Entm’t, 226 F.R.D. at 392 (“After a
default has been entered by the court clerk, the well-pleaded factual allegations of the
complaint are taken as true, except for those allegations relating to damages”). The
copyright registrations issued by the Register of Copyrights also “constitute[s] prima
facie evidence of the validity of the copyright[s].” 17 U.S.C. § 410(c); North Coast
Indus. v. Jason Maxwell, Inc., 972 F.2d 1031, 1033 (9th Cir. 1992).

Plaintiffs First Amended Complaint also establishes that Defendants have
violated Plaintiff's exclusive rights under the Copyright Act, which include the
exclusive rights to copy Plaintiff's works, to prepare derivative versions, to publicly
distribute copies and to display copies of the works. 17 U.S.C. § 106(1)-(3) & (5).
Violation of any one of these rights constitutes infringement. A & M Records, Inc. v.
Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001). These exclusive rights extend to
original characters visually depicted in artwork or movies. Toho Co. v. William
Morrow & Co., 33 F. Supp. 2d 1206, 1216 (C.D. Cal. 1998). “The fact that a work in
one medium has been copied from a work in another medium does not render it any the
less a ‘copy.”” 2 M. & D. Nimmer, Nimmer on Copyright § 8.01[B] (2005); Rogers v.
Koons, 960 F.2d 301 (2d Cir. 1992), cert. denied 506 U.S. 934, 113 S.Ct. 365, 121
L.Ed.2d 278 (defendant’s bronze sculpture of litter of puppies infringed Plaintiff’s
photograph of puppies).

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Plaintiff alleges that Defendants copied Plaintiffs copyrighted artwork and
Plaintiff's fanciful characters in Plaintiff's copyrighted 1977 Star Wars Flin, that
Defendants prepared three-dimensional copies of Plaintiffs copyrighted depictions,
that Defendants publicly distributed those copies and that Defendants also publicly
display them on Defendants’ website, all without Plaintiff's consent. FAC at 5-9, ff
10-12, 15, 17 & 22, & Ex. 4 attached thereto. Plaintiff's allegations in its First
Amended Complaint are more than sufficient to establish Defendants’ multiple
infringements of Plaintiff's copyrights.

Accordingly, Plaintiff has established a substantial claim for copyright
infringement.

(ii) Plaintiff's Second Claim for Relief: Defendants Also
Violated the Lanham Act.

Plaintiff's Second Claim for Relief is for unfair competition under the Lanham
Act. The Lanham Act prohibits, inter alia, the use in connection with any goods or
services of any word, term or name, any false designation of origin or any false or
misleading description or representation in commercial advertising or promotion, that
misrepresents the nature, characteristics or qualities of the person’s or anyone else’s
goods, services or commercial activities. 15 U.S.C. § 1125(a)(1)(B).

Plaintiff's First Amended Complaint establishes that Defendants have violated
the Lanham Act by making in their advertising and promotion numerous false
descriptions and representations as to the nature, characteristics and qualities of
Defendants’ products. Defendants’ false representations in advertising and promoting
their products include Defendants’ false representations that Defendants, not Plaintiff,
are the “original” designers and creators of Plaintiff's Stormtrooper and TIE fighter
pilot characters, that Defendants’ products are made from the original molds used to
create the helmets and costumes worn by actors in Plaintiffs Star Wars Films and that
Defendants’ products are “exact” duplicates of those helmets and costumes. FAC at 6-

7, | 14-16, & at 10, J 26, & at Ex. 4 attached thereto. Plaintiff also alleges that

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Defendants willfully and deliberately made these false and misleading statements and
representations in advertising and promoting their products. /d. at 8, 17. AS: a result
of Defendants’ decision not to appear and defend, these allegations are also, ‘deemed
true. Elektra Entm’t, 226 F.R.D. at 392.

Accordingly, Plaintiff has also established a substantial claim for willful unfair
competition under the Lanham Act.

(iii) Plaintiff's Third Claim for Relief: Defendants Also
Infringed Plaintiffs Trademark.

The Lanham Act also prohibits the infringement of trademarks, even if they
have not been registered with the United States Patent and Trademark Office. Two
Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 767-68, 112 S.Ct. 2753, 120 L.Ed.2d
615 (1992) (infringement of unregistered marks prohibited by Section 43(a), 15 U.S.C.
§ 1125(a)).

Plaintiff alleges that for nearly 30 years it has used the Imperial logo on the
well-known and instantly recognized TIE fighter pilot helmets and also as a trademark
for, e.g., entertainment-related activities, toys and other merchandise. FAC at 6, ¥ 13,
& Ex. 3 attached thereto. Plaintiff also alleges that Defendants have placed copies of
the Imperial logo on Defendants’ helmets and in Defendants’ advertising, deliberately
creating the false and misleading impression that Defendants or their products are
affiliated with or sponsored or approved by Plaintiff. Id. at 7, 15, at 8,917 & at 11,9
30, & Ex. 4, at 20, attached thereto.

Plaintiff has therefore also established a substantial claim for trademark
infringement.

(iv) Plaintiffs Fourth Claim for Relief: Defendants’ Conduct
Also Constitutes Unfair Competition Under State Law.

The California common law of unfair competition prohibits anticompetitive

activities including “passing off’ and analogous misleading conduct by which a

defendant seeks to trade off of the Plaintiff's efforts. Bank of the West v. Superior

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Court, 2 Cal.4th 1254, 1263, 10 Cal. Rptr. 2d 538, 833 P.2d 545 (1992); Luiz v.
DeLaurentiis, 211 Cal. App. 4th 1317, 1322, 260 Cal. Rptr. 106 (1989): {use of
confusingly similar titles); 11 B. Witkin, Summary of California Law 762-67 (ot Ed.
1990).

Plaintiff alleges that Defendants are falsely stating that they designed and
created Plaintiff's Stormtrooper and TIE fighter pilot characters, helmets and
costumes, that Defendants are passing off their products as based on the “original” Star
Wars molds and as exact duplicates of Plaintiff's characters, helmets and costumes,
and that Defendants are copying Plaintiff's Imperial logo. FAC at 7-8, {| 15-17.
Further, Plaintiff alleges that Defendants have acted with the purpose of trading upon
the great public recognition associated with Plaintiff, its Star Wars Films and its
Stormtrooper and TIE fighter pilot characters. /d. at 8, lines 4-6.

Plaintiff has alleged substantial claims for copyright infringement, federal and
State unfair competition and trademark infringement, and therefore the second and
third Fitel factors also cut in favor of the entry of a Default Judgment.

3. The Fourth Factor: The Amount of Money at Stake in the Action.

Plaintiff seeks Judgment in the total amount of $10,000,000, plus injunctive and
other relief and attorney’s fees and costs. Given that Defendants are acting willfully,
that their infringements are ongoing, that they are reaping substantial profits from those
infringements and that once their motion to dismiss was denied Defendants chose not
to “comply with the judicial process or to participate in any way in the present
litigation,” the “imposition of a substantial monetary award” is justified and this factor
also cuts in favor of entering a Default Judgment. Philip Morris, 219 F.R.D. at 500
(fourth Fite! factor favored default judgment where Defendants willfully imported a |
large number of counterfeit cigarettes, there was a likelihood of damaging confusion
and Defendants defaulted; Plaintiff awarded maximum statutory damages of
$2,000,000 under Lanham Act).

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4. The Fifth Factor: The Possibility of a Dispute Concerning .

Material Facts. -

A defendant’s failure to respond to a complaint indicates that “the likelihgod that
any genuine issue may exist is, at best, remote.” Philip Morris, 219 FRD. at 500;
Elektra Entm’t, 226 F.R.D. at 393 (same). Here, Defendants are represented by
counsel, Defendants filed an unsuccessful motion to dismiss, Defendants were warned
their default would be taken and Defendants chose not to defend either Plaintiff's
original Complaint or Plaintiff's First Amended Complaint. Thus, the likelihood of
any genuine issue “is, at best, remote.” This factor also cuts in favor of entry of a
Default Judgment.

5. The Sixth Factor: Whether The Default Was Due To Excusable
Neglect.

Defendants were personally served with process, Defendants filed a motion to
dismiss and Defendants’ counsel has advised that Defendants decided not to defend
this action. Rather than excusable neglect, Defendants’ failure to respond to the First
Amended Complaint is due to “willful disobedience” of the Court’s Summons. Philip
Morris, 219 F.R.D. at 500-01; Elektra Entm’t, 226 F.R.D. at 393. This factor cuts in
favor of the entry of a Default Judgment.

6. The Seventh Factor: The Strong Policy Underlying the Federal
Rules of Civil Procedure Favoring Decisions on the Merits.

The seventh Eitel factor is the policy favoring decisions on the merits. Eite/, 782
F.2d at 1471-72. Defendants’ decision not to defend this case “makes a decision on the
merits impractical, if not impossible.” Pepsico, Inc, 238 F. Supp. 2d at 1177.

Accordingly, all of the Eifel factors cut decidedly in favor of entry of a Default
Judgment.

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C. _ Plaintiff’s Remedies. -
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1. Defendants’ Copyright Infringements: Actual Damages and
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Plaintiff's remedies under the Copyright Act include recovery of actual damages

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Profits.

and Defendants’ profits from their infringements. 17 U.S.C. § 504(a), Actual damages
and profits “are two sides of the damages coin -- the copyright holder’s losses and the
infringer’s gains.” Polar Bear Prod., Inc. v. Timex Corp., 384 F.3d 700, 708 (9th Cir.
2004).

“Actual damages are usually determined by the loss in the fair market value of
the copyright, measured by the profits lost due to the infringement or by the value of
the use of the copyrighted work to the infringer.”” Polar Bear, 384 F.3d at 708,
quoting McRoberts Software, Inc. v. Media 100, Inc., 329 F.3d 557, 566 (7th Cir.
2003). Here, and consistent with Polar Bear, 384 F.3d at 709, Plaintiff seeks actual
damages based on Plaintiff's lost license fees that it would have received if Defendants
had licensed the rights that Defendants appropriated. On a Motion for default
judgment, “Plaintiff's burden in ‘proving up’ damages is relatively lenient.” Philip
Morris, 219 F.R.D. at 498. Plaintiff has carried that burden and the evidence submitted
by Plaintiff establishes that a reasonable license fee for the Star Wars merchandising
rights that Defendants have appropriated for themselves exceeds the $5,000,000 in
damages and profits that Plaintiff seeks on its first claim for copyright infringement.

As for Defendants’ profits, Plaintiff is only required to prove Defendants’
revenues from their infringements. The burden is then on Defendants to prove their
deductible expenses and the portion, if any, of the profits attributable to non-infringing
factors. 17 U.S.C. § 504(b); Three Boys Music Corp. v. Bolton, 212 F.3d 477, 487 (9th
Cir, 2000) (quoting § 504(b)). “Accordingly, ‘all gross revenue is presumed to be
profit “attributable to the infringement,” unless the infringer is able to demonstrate
otherwise.’” 4 Nimmer on Copyright § 14.03[B] (emphasis added), quoting Nelson-
Salabes, Inc. v. Morningside Dev., LLC, 284 F.3d 505, 512 n.9 (4th Cir. 2002). “Any

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doubt as to the computation of costs or profits is to be resolved in favor, of the
Plaintiff.” “Any doubt as to the correctness of the profit calculation shoulds. . be
resolved in favor of the plaintiff.” Eales v. Environmental Lifestyles, Inc., 088 F.2d
876, 881, n. 4 (9th Cir. 1992), cert. denied, 506 U.S. 1001, 113 S.Ct. 605, 121 L.Ed. 2d
541.

Plaintiff has shown that Ainsworth’s Declaration filed in support of Defendants’
Motion to Dismiss establishes that Defendants’ revenues through August 12, 2005
totaled $354,388, and that extrapolating from that figure, Defendants’ additional
revenues over the last 12 months are $265,788, for a total of at least $620,176.
Plaintiff has also established that 85% of worldwide Star Wars merchandising revenue
from replicas costing more than $100, is derived from sales in the United States and,
accordingly, Defendants have received at least $527,150 from their United States
infringements of copyright. Since a defendant who appears and defends but fails to
produce evidence of deductible expenses can claim none, Nelson-Salabes, 284 F.3d at
512 n. 10; Defendants can be in no better position where they refuse to appear at all
and chose instead to default. Defendants have not submitted any evidence of
deductible expenses and, as a result, the revenue figure is deemed their profits. /d.

Plaintiff's actual damages and Defendants’ profits from Defendants’ copyright
infringements therefore exceed the $5,000,000 in damages and profits that plaintiff
pleaded on this claim, Because plaintiff's recovery on each claim is limited by the
amounts plaintiff pleaded in its First Amended Complaint and as to which defendants
chose to default, F. R. Civ. P. Rule 54(c), $5,000,000 is properly awarded on this
claim.

2. Defendants’ Unfair Competition and Trademark Infringement In
Violation Of The Lanham Act: Damages, Trebled,_ And_Profits.
Plaintiff's remedies under its second and third claims for relief for Defendants’

unfair competition and trademark infringement in violation of the Lanham Act include
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Plaintiffs actual damages, which the Court may increase three-fold in appropriate
circumstances, and Defendants’ profits. 15 U.S.C. § 1117(a). :

Under the Lanham Act, “[d]amages are typically measured by any dire injury
which a plaintiff can prove, as well as any lost profits which the plaintiff would have
earned but for the infringement.” Intel Corp. v. Terabyte Int'l, Inc., 6 F.3d 614, 621
(9th Cir. 1993) (affirming award of damages based on plaintiff's lost profits), quoting
Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1407 (9th Cir. 1993), cert. denied 510
U.S. 815, 114 S.Ct. 64, 126 L.Ed.2d 34. As to lost profits, Plaintiff has submitted the
Declaration of Mr. Roffman, which establishes that the value of the rights that
Defendants appropriated for themselves is at least $12,500,000 and that Plaintiff would
have received at least $2,500,000 in license fees for those rights. To the extent not
duplicative of the award on the copyright claim, these damages are properly recovered
on the Lanham Act claims. In addition, Mr. Roffman’s Declaration establishes that
Defendants’ wrongful conduct has caused at least $10,000,000 in damages to
Plaintiff's reputation and goodwill. This evidence is more than sufficient to meet the
“lenient” standard applicable on a motion for entry of default judgment. Philip Morris,
219 F.R.D. at 498. Further, in light of Defendants’ willful violations of the Lanham
Act, trebling of those damages is appropriate under 17 U.S.C. Section 1117(a).

As to profits, Plaintiff is again only required to prove Defendants’ revenues, 15
U.S.C. Section 1117(a); and Defendants’ have forfeited the opportunity to prove
deductible costs. However, the award of profits on the Lanham Act claims are
subsumed within the award of profits on the copyright claim discussed above.

3. Defendants’ Unfair Competition In Violation Of State Law:
Compensatory and Punitive Damages.

Plaintiff's monetary remedies for Defendants’ unfair competition under State

law are compensatory q{ijimgmmmaimp damages. Cal. Civ. Code §§ 3333 & 3294.

Plaintiff's compensatory damages under this claim and the Lanham Act claims would

     

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appear duplicative, however.

 

 

 
 

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4, A Permanent Injunction.

Plaintiff's remedies also include a permanent injunction against Defendants’
continued infringements. 17 U.S.C. § 502; Abend v. MCA, Inc., 863 F.2d 1465, 479
(9th Cir. 1988)), aff'd sub nom. Stewart, 495 U.S. 207, 110 S.Ct. 1750, 109 L.Ed.2d
184 (1990) (“a finding of [copyright] infringement presumptively entitles the Plaintiff
to an injunction”); 15 U.S.C. § 1116(a). The Court conciudes that a permanent
injunction is appropriate here. .

5. Defendants’ Surrender of the Infringing Materials.

In addition, Plaintiff's remedies under the Copyright Act include an Order or
Judgment directing that the infringing copies and all “molds . . . or other articles by
means of which such copies . . . may be reproduced” be delivered up for “destruction
or other reasonable disposition.” 17 U.S.C. § 503(b). This Section authorizes the
Court to direct that the copies and articles be destroyed or that they “be delivered to the
possession of the plaintiff” 4 Nimmer on Copyright § 14.08. The Court concludes
that an Order and Judgment requiring the delivery to Plaintiff of all infringing copies
and molds and other materials used in making the infringing copies, is appropriate in
this case.

6. Prejudgment Interest.

Plaintiff’s remedies also include prejudgment interest. See, e.g., Polar Bear
Prod., Inc. v. Timex Corp., 384 F.3d 700, 716-18 (9th Cir. 2004) (prejudgment interest
under Copyright Act).

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7. Attorneys’ Fees and Costs. b

Plaintiff's copyright remedies include an award of attorney’s fees and costs. 17
U.S.C. §§ 505 & 1202(b)(5). “*[E}xceptional circumstances’ are not a prereqiiisite to
an award of attorneys fees” under the Copyright Act, and instead “district courts may
freely award fees” if doing so “promote[s] the Copyright Act’s objectives.” Historical
Research v. Cabral, 80 F.3d 377, 378 (9th Cir. 1996). The factors considered in
awarding fees include “frivolousness, motivation, objective unreasonableness (both in
the factual and legal arguments of the case) and the need in particular circumstances to

advance considerations of compensation and deterrence.

510 U.S. 517, 534, n. 19, 114 S.Ct. 1023, 127 L.Ed.2d 455 (1994), quoting Lieb v.
Topstone Industries, Inc., 788 F.2d 151, 156 Gd Cir. 1986) (parenthetical in original).

Fogerty v. Fantasy, Inc.,

Defendants willfully infringed Plaintiffs copyrights and continue to do so today.
4 Nimmer on Copyright § 14.10[D][2][a] (‘One of the most common circumstances
warranting an award of attorney's fees is deliberate infringement”). Defendants
ignored the opportunity to present a defense, choosing to disobey this Court’s
Summonses. Also, considerations of compensation and deterrence are advanced by
requiring that Defendants reimburse Plaintiff its attorney’s fees. Accordingly, the
factors all cut in favor of an award of attorney’s fees to Plaintiff.

Further, since Plaintiff's non-copyright claims are related to the copyright claim
and arise from the same basic facts, no apportionment between the copyright and non-
copyright claims is required. Entertainment Research Group, Inc. v. Genesis Creative
Group, Inc., 122 F.3d 1211, 1230 (9th Cir. 1997). In fact, in light of Defendants’
default without litigating any claims, an apportionment between fees incurred in
prosecuting the copyright and non-copyright claims would be impossible.
Alternatively, to the extent fees could be attributed to the Lanham Act claims, an
award of those fees is proper because this is an “exceptional” case under the Lanham
Act.” 15 U.S.C. § 1117(a). “A trademark case is exceptional where the district court
finds that the defendant acted maliciously, fraudulently, deliberately, or willfully.”

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Earthquake Sound Corp. v. Bumper Indus., 352 F.3d 1210, 1216 (9th Cir,.2003).
Defendants willfully and deliberately infringed and made, and are continuing td make,
false representations in the advertising and promotion of their products. As i result,
this is an “exceptional” case and an award of attorney’s fees under the Lanham Act is
appropriate. Also, the Lanham Act, Copyright Act and the State common law unfair
competition claims are “so intertwined that it is impossible to differentiate between
work done on” them and an apportionment is unnecessary. Gracie v. Gracie, 217 F.3d
1060, 1069 (9th Cir. 2000).

IV. CONCLUSION

For the foregoing reasons, Plaintiff's Motion for entry of Default Judgment is

granted.
IT IS SO ORDERED.
“REP 20 20063
Dated: ~* Se “_
onOtable ausner
United States District Judge
Submitted by:

Peter J. Anderson, Esq., SBN 088891
E-mail: a(@ipjanderson-com

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STATE OF CALIFORNIA, COUNTY OF LOS ANGELES if

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I am employed in the County of Los Angeles, State of California and m
business address is 100 Wilshire Boulevard, Suite 2010, Santa Monica, CA 90401.
am over the age of 18 and not a party to this action.

On August 21, 2006, I served the foregoing document described as
[PROPOSED ORDER GRANTING MOTION FOR ENTRY OF DEFAULT
UDGMENT, on interested parties in this action by placing a true copy thereof
enclosed in a sealed envelope at Santa Monica, California, addressed as follows:

William L. Robinson, Esq.
Lori A. Winfree, Esq.
Nixon Peabody LLP

2040 Main Street

Suite 850

Irvine, CA 92614

Lx] I caused such envelope with postage thereon fully prepaid to be placed in
the United States mail. I am readily familiar" with the firm's practice of
collection and processing of correspondence for mailing with the United States
Postal Service. Correspondence for mailing is deposited with the United States
Postal Service on that same day in the ordinary course of business. The
foregoing document was sealed and placed for collection and mailing on the
foregoing date, following the firm's ordinary practices. I am aware that on
motion of any party served, service is presumed invalid if the postal cancellation
date or postage meter date is more than one day after the date of deposit for
mailing in the affidavit.

LU I caused such document to be delivered by hand to the offices of the
addressee.
(_] I placed such envelope in a box or other facility regularly maintained by

Federal Express, in an envelope or package designated and provided by Federal
Express, with delivery fees paid or provided for, addressed to the above-
indicated addressees.

UJ also caused a copy of the foregoing document to be faxed to the addressee.
Executed on August 21, 2006 at Santa Monica, California. I declare under

penalty of perjury under the laws of the State of California that the above is true and
correct.

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